Case 14-17958-amc        Doc 79    Filed 11/10/15 Entered 11/10/15 15:29:40            Desc Main
                                   Document     Page 1 of 2


                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

In Re: Leon Hawes                               :         Case No. 14-17958
                                                :         Chapter 13
                                                :
                                                :
                                                :
                                                :
                         FOURTH AMENDED CHAPTER 13 PLAN

1. Payments to the Trustee: The future earnings or other future income of the Debtor is
submitted to the supervision and control of the Trustee. The total plan length is 60
months. To date, Debtor has paid $12,897.52. Under the amended plan, Debtor shall pay to the
Trustee the sum of:

       $1875.00 beginning November 6, 2015 for 47 months.

2. Allowed claims against the Debtor shall be paid in accordance with the provisions of
the Bankruptcy Code and this plan.

       a. Secured creditors shall retain their mortgage, lien or security interest in
       collateral until the amount of their allowed secured claims have been fully
       paid. The provisions of this paragraph shall operate to cure any pre-petition default of
       any real estate security agreement. Debtor must fully comply with all requirements of
       this plan.

       b. All priority creditors under 11 USC §507 shall be paid in full in deferred cash
       payments.

3. From the payments received under the plan, the Trustee shall make the disbursements
as follows:

       a. Administrative Expenses:

              Trustee's Fee shall not exceed 10%.

       b. Priority claims under 11 USC §507

              Creditor                                       Amount

              PA Dept of Revenue                            $ 656.61
              IRS                                           $7,234.44
Case 14-17958-amc         Doc 79   Filed 11/10/15 Entered 11/10/15 15:29:40            Desc Main
                                   Document     Page 2 of 2




       c. Secured claims

               Creditor                               Arrearage Amount

               City of Phila.(water)                  $    184.72
               Wells Fargo (Fitzwater St) 2nd Mtg.    $ 7,532.50
               Wells Fargo (Ftzwater St.) 1st Mtg.    $ 56,247.50
               City of Phila./School Dist. of Phila   $ 18,765.89 (includes 9% post-
               petition interest)

             The Wells Fargo claim in the amount of $11,005.21, for the property located at
       2261 N. 51st Street, Phila.PA, will not be paid as Debtor is surrendering the property.

       d. Unsecured claims

               (1) General nonpriority unsecured claims totaling shall be paid pro-rata with no
       interest.

4. The Debtor shall make regular payments directly to the following creditors:

       Wells Fargo – (1st and 2nd Mortgage for 2240 Fitzwater Street) only.

       The property located at 2261 N. 51st Street, Phila. PA will not be paid through the plan
and will be surrendered.

Date: November 10, 2015                               /s Leon Hawes
                                                      Debtor
